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        This Instrument Prepared By:

        Laws & Murdoch, P.A.
        P. 0. Box 3000
        Russellville, AR 72811
        479.968.1168



                                   GENERAL POWER OF ATTORNEY

        STATE OF ARKANSAS

        COUNTY OF POPE

        KNOW ALL MEN BY THESE PRESENTS:

                That ( Marcus Millsap, whose residence is 709 Boyd Street, Danville in Yell
        County, Arkansas, hereby appoint Sharon ca·rr whose address is Post Office Box 70,
        Danville, Arkansas 72833, my true and lawful agent and attorney in fact to act in my
        name and behalf to do any and all lawful things which I could do myself with respect to
        any and all property (real and personal, including interests therein) of every kind and
        character owned by me at this time and which may be owned by me while this power of
        attorney remains in effect, including (without limiting the generality hereof) the following
        rights:


                      a.     To sell, convey, mortgage and lease realty; to execute,
                      acknowledge and deliver deeds, mortgages, leases, releases,
                      satisfactions and any other instruments relating to realty which my
                      attorney considers necessary or appropriate; to operate, manage, control



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            validn!~2i~~s~~:~:~c~:~~~! ~~~~~i~:;~:i;;s1, and to give good and
                 c.      To _b_uy, sell, assign, exchange, transfer and deliver stocks,
           bonds and securities of every kinda and character in my name and for m
           account, at such prices as shall seem good to my attorney;                   Y

                  d.     To ~ign, execute, acknowledge and deliver in my name all
           transfers and assignments to securities;

                   e.    To borrow money for me and to secure any loan to me with a
           mo~g~ge on or sec~rit~ interest in any real or personal property owned by
           me 1f, in my attorneys Judgment, such action should be necessary or
           appropriate;

                 f.      To loan money for me upon such terms and conditions as
          my attorney sees fit, and to otherwise make such investments and
          reinvestments of any of my properties as my attorney deems to be for my
          best interests.

                 g.     To endorse checks and other instruments made payable to
          me;

                 h.     to carry bank accounts for me in my name in such bank or
          banks as my attorney may deem appropriate; to make deposits of money
          belonging to me in such account or accounts and to disburse such funds
          on my attorney's signature in any amounts, for such purposes and at such
          times as my attorney may deem appropriate (including payments and
          expenditures for my personal needs, education, support, maintenance and
          medical attention; for the maintenance, upkeep, repair or any other
          purpose in connection with any real or personal property owned by me;
          and for any other purpose which my attorney may deem necessary or
          appropriate for the proper administration of my affairs);

                 i.     To exercise general supervision and control over any
          securities and other personal property of any nature whatsoever belonging

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                             MARCUSMILLSAP
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                                   sell or exercise stock options; to vote my stock; and to take any and all
                                   action which I could take myself with respect to all securities now owned
                                   by me or which may be hereafter acquired by my attorney for me;

                                       j:     To open accounts in my name or in my attorney's name as
                                  my agent and attorney in fact;

                                        k.     To transfer or withdraw monies on deposit to my credit in
                                  any bank or other financial institution; and to close any accounts where
                                  money is on deposit to my credit;

                                         I.     To make, sign and verify for me federal, state and local tax
                                  returns of every kind, claims for refunds, requests for extension of time
                                  and consents thereto in my name;

                                          m.     To execute and deliver any instruments and to do any and
                                  all things which may be legally done and are necessary or appropriate to
                                  carry out the power and authority hereby granted and conferred.

                     I hereby grant unto my attorney in fact full power and authority to perform any act
              whatsoever requisite, necessary or appropriate to be done (as determined in my
              attorney's sole and unrestricted judgment and discretion) with respect to any and all of
              my property as fully as I might or could do if personally present with full power of
              substitution and revocation. I hereby ratify and confirm all that my attorney in fact may
              have heretofore done in my name and behalf and all that my attorney may hereafter do
              pursuant to the power of attorney hereby granted.

                     This Power of Attorney shall remain in full force and effect until revoked by me by
              instrument in writing duly signed, acknowledged and filed for record in the records of the
              Danville District of Yell County, Arkansas.

                          IN WITNESS WHEREOF, I have affixed my signature on this             1. 2..   day of
             S:e.p      fl• ,e_..,,_ , 2010.
                                                                       -~ m1&t
                                                                             MARCUS MILLSA~




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STATE OF ARKANSAS
COUNTY OF YELL

                                                  ACKNOWLEDGMENT
       BE IT REMEMBERED, that on this day came before me, the undersigned, a
Notary Public, within and for the county aforesaid, duly commissioned and acting,
Marcus Millsap, to me well known, who signed the foregoing Power of Attorney and
stated that he/she had executed the same for the consideration and purposes therein
mentioned and set forth.

      WITNESS my hand and official seal as such Notary Public on this '2 l. day of
Sep Tew.   '•P.. ,2010.
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MY COMMISSION EXPIRES:

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              ELl~BE"il"\ J. COGER~
             MOTA~Y PUBUC-AAKANSA.,
                         YELL COUNTY                    2,€ -, ,
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